 

U.S. DlSTRlCT COURT

 

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UNITED STATES DISTRICT COURT , my
NORTHERN DISTRICT OF TEXAS 3 § 0 5 § §~

DALLAS DIVISION 3 _ 0 5 C V ]_ 3 2 3 » B

ALASKA U.F.C.W. PENSION TRUST, on § Civil Action No.
Behalf of Itself and All Others Sirnilarly
Situated and Derivatively on Behalf of

WYNDHAM INTERNATIONAL, INC.,

CLASS AND DERIVATIVE ACTION

Plaintiff,
vs.

FRED J. KLEISNER, KARIM A. ALIBHAI,
MARC BEILINSON, LEON D. BLACK,
LEONARD BOXER, ADELA CEPEDA,
MILTON FINE, LEE S. HILLMAN,
THOMAS H. LEE, ALAN M. LEVENTHAL,
WILLIAM L. MACK, LEE S. NEIBART,
MARC J. ROWAN, ROLF E. RUHFUS,
LAWRENCE RUISI, SCOTT A. SCHOEN,
SCOTT M. SPERLING, LYNN C. SWANN
and SHERWOOD M. WEISER,

Defendants,
~ and ~

W Y NDHAM INTERNATIONAL, INC., a
Delaware corporation,

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Norninal Defendant. DEMAND FOR JURY TRIAL

 

CLASS ACTION AND SHAREHOLDER DERIVATIVE COMPLAINT

 

 

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l. This is a class and shareholder derivative action brought against the members of the
Board of Directors of Wyndham Intemational, Inc. (“Wyndham” or the “Company”), on behalf of
Wyndham and its public shareholders for breach of fiduciary duty, abuse of control, gross
mismanagement and Waste of corporate assets arising out of defendants’ attempts to provide certain
Wyndham insiders and directors With preferential treatment in connection With their efforts to
complete the sale of Wyndham to The Blackstone Group (“Blackstone”) for $1.15 per share in cash
for each share of Wyndham common stock (the “Proposed Acquisition”).

SUMMARY OF THE ACTION

2. Wyndham offers upscale and luxury hotel and resort accommodations through
proprietary lodging brands and a management services division. Based in Dallas, Wyndham owns,
leases, manages and franchises hotels and resorts in the United States, Canada, Mexico, the
Caribbean and Europe.

3. On June l4, 2005, Wyndham announced that its Board of Directors had entered into
an agreement With Blackstone Wherein Blackstone Would acquire all outstanding Class A common
Stock of Wyndham and all Class B preferred stock in a transaction valued at approximately
$3.24 billion, including assuming $1.8 billion in debt, pursuant to terms Which substantially benefit
the preferred shareholders to the detriment of Wyndham’ s common shareholders The holders of the
preferred stock, led by Wyndham directors affiliated With Apollo Management, L.P. (the “Apollo
investors”), Beacon Capital Partners, Inc. (the “Beacon investors”) and Thomas H. Lee Partners (the
“THL investors”), Will receive approximately $ l . 19 billion, or $ 72. l 7 per share. The holders of the
common stock Will receive the remaining $250 million, or $1.15 per share. The preferred enjoy a

significant voting advantage over the common stock holders as alleged herein.

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4. In pursuing the unlawful plan to sell Wyndham, each of the defendants violated
applicable law by directly breaching and/or aiding the other defendants’ breaches of their fiduciary
duties of loyalty, candor, due care, independence, good faith and fair dealing

5. Under the terms of the Proposed Acquisition, Wyndham’s controlling stockholders __
entities affiliated with Apollo investors, THL investors, Beacon investors, PaineWebber Capital Inc.,
Chase Capital Partners and Walt Disney Co. CEO Michael Ovitz ~ will receive $72.17 a share for
their convertible preferred, or approximately $1. 16 billion. The Proposed Acquisition will net them
a profit on the $l billion the controlling preferred shareholders invested in Wyndham in 1999, in
addition to the cash dividend payment of $29,250 per year each preferred stock share has been
granted since 1999.

6. The Company’s common stock holders, which receive no dividends, will share
approximately $199 million.

7. As of April 20, 2005, the preferred shares owned by the controlling preferred holders
were convertible into 200.2 million Class A shares, which would have been cashed out at just
$176 million under the terms of the Proposed Acquisition.

8. In April 2005, the Company announced a $ l .65 billion refinancing, and two weeks
later announced it was undertaking a massive stock recapitalization Which, if completed, would have
converted all preferred stock into common stock.

9. On April 15, 2005, the Company announced that it had entered into a definitive
recapitalization agreement with certain investors in Wyndham’s Series B Preferred Stock. In the
recapitalization, the existing classification of Wyndham’s common stock would be eliminated, all
outstanding shares of Series A and Series B Preferred Stock (including accrued but unpaid
dividends) would be converted into common stock and the existing common stockholders would

continue to hold shares of common stock. At the closing of the transaction, the holders of the

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Series A and Series B preferred stock would own approximately 85% of the outstanding common
stock of Wyndham and the existing common stockholders would own approximately 15% of the
outstanding common stock of Wyndham.

10. In May 2005 the Company completed the $1.65 billion refinancing of its corporate
credit facilities and the majority of its outstanding mortgage debt, including extending its corporate
debt maturities to 2011 (90% of Wyndham’s outstanding debt) and pre-funding $100 million in
capital to be invested into the Company’s owned and leased properties This was undertaken to
assist the controlling preferred stock holders

ll. Pursuant to the terms of their preferred stock issued in June 1999, preferred stock
dividends were payable quarterly, on a cumulative basis, at a rate of 9.75% per year, for the first six
years with the dividends structured to ensure an aggregate fixed cash dividend payment of
$29,250 per year. However, Wyndham’s credit facility prohibited it from paying the cash portion of
the preferred stock dividend until expiration or further amendment of its credit facility and the cash
portion of the dividend had not been paid but had accrued since 2002. As of December 31, 2004,
cash dividends totaling $102.3 million on the preferred stock had been in arrears and unpaid for a
period of more than 60 days.

12. The first six year term of the preferred stock agreement would expire in June 2005
and from that point forward the Board, in compliance with its fiduciary duties, would have to
determine if the preferred stock should get cash or stock dividends Moreover, in June 2005 another
provision would expire requiring that if a change in control or a liquidation of Wyndham occurred,
any accrued dividends had to be immediately accelerated and paid. Moreover, at the end of the six
year period in June 2005, the preferred stock was redeemable by Wyndham and the Board, in
compliance with its fiduciary duties would be forced to decide whether or not to redeem the

preferred stock, thus terminating the preferred dividend at a rate of 9.75% per year.

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13.

On May 17, 2005, Wyndham filed a Form 8-K with the Securities and Exchange

Commission (the “SEC”) advising that its previously issued financial statements for fiscal 2004

could “no longer be relied upon”:

ITEM 4.02A NON-RELIANCE ON PREVIOUSLY ISSUED FINANCIAL
STATEMENTS OR A RELATED AUDIT REPORT OR COMPLETED
INTERIM REVIEW

During the quarter ended March 31, 2005, as Wyndham Intemational, Inc.

(the “Company” or “Wyndham”) was continuing to remediate internal controls over
financial reporting previously disclosed in its December 3 l , 2004 Annual Report on
Form 10-K, the Company identified an additional tax charge of $ l .7 million related
to 2004 and reconsidered other previously identified but deemed immaterial
adjustments related primarily to accruals of unbilled legal and consulting fees
aggregating $1.8 million related to 2004. The Company’s Audit Committee and
management consider the charges to be immaterial to the Company’s financial

position and the results of operations for the year ended December 3 l , 2004.

However, even though the adjustments are only 0.14% of the first quarter 2005
total assets, 0. 15% of total liabilities, 2. 5 % of shareholders ’ equity and 1.2% of the
first quarter 2005 total revenues, the $3. 5 million adjustments as a percentage of
the first quarter 2005 loss from continuing operations of $48,000 are significant

As a result, on May 11, 2005 it was determined that the Fnancial statements for the
year ended December 31, 2004 should no longer be relied upon.

The restatement resulted in the Company adjusting its previously reported
2004 net loss of $509.5 million ($4.01 per share) to net loss of $512.9 million
($4.03 per share).

14.

On May 17, 2005, the Company also amended its previously filed Form lO-K for the

fiscal year ending December 31, 2004, indicating that the lO-K had not been updated based on the

review conducted and that only the limited changes had been made as outlined in the preceding

paragraph:

This amended Annual Report on Form lO-K/A has not been updated except
as required to reflect the effects of the foregoing restatement ln order to preserve the
nature and character of the disclosures set forth in such items as originally filed, no
attempt has been made in this amendment to modify or update the disclosures in the
original Annual Report on Form lO-K except for the foregoing restatement As a
result, this amended Annual Report on Form 10-K/A contains forward-looking
information which has not been updated for events subsequent to the date of the
original filing, and all information contained in this amended Annual Report on
Form 10-K/A and the original Annual Report on Form 1 0-K is subject to updating
and supplementing as provided in the periodic reports that the Company has filed

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and/or will file with the SEC after the original filing date of the Annual Report on
Form 10-K.

15. On May 24, 2005, the fiscal 2004 10-K was once again amended to add the report of
Wyndham’s independent accountants made in connection with the restatement

REPORT OF lNDEPENDENT REGISTERED PUBLIC ACCOUNTING FIRM

To the Board of Directors and Shareholders
Wyndham International, Inc.:

We have completed an integrated audit of Wyndham Intemational Inc. ’s 2004
consolidated financial statements and of its internal control over financial reporting
as of December 31, 2004 and audits of its 2003 and 2002 consolidated financial
statements in accordance with the standards of the Public Company Accounting
Oversight Board (United States). Our opinions, based on our audits, are presented
below.

As described in Note 2b to the consolidated financial statements, the
Company has restated its 2004 consolidated financial statements

Internal control over financial reporting

Also, we have audited management’ s assessment, included in Management’s
Report on Intemal Control Over Financial Reporting appearing under Item 9A, that
Wyndham Intemational Inc. did not maintain effective internal control over
financial reporting as of December 31, 2004, because Wyndham International,
Inc. did not maintain effective controls over the accounting and review of income
taxes and the determination of deferred income taxes and the related valuation
allowance, based on criteria established in Intemal Control ~ lntegrated Framework
issued by the Committee of Sponsoring Organizations of the Treadway Commission
(COSO). The Company’s management is responsible for maintaining effective
internal control over financial reporting and for its assessment of the effectiveness of
internal control over financial reporting Our responsibility is to express opinions on
management’s assessment and on the effectiveness of the Company’s internal control
over financial reporting based on our audit.

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A material weakness is a control deficiency, or combination of control
deficiencies, that results in more than a remote likelihood that a material
misstatement of the annual or interim financial statements will not be prevented or
detected The following material weakness has been identified and included in
management’s assessment As of December 31, 2004, Wyndham International, Inc.
did not maintain effective controls over the accounting and review of income taxes
and the determination of deferred income taxes and the related valuation allowance.

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Specifically, the Company did not maintain effective controls over the reconciliation
of its income tax assets and liabilities to the underlying differences between the tax
basis and accounting basis of each component of the Company’s balance sheet. In
addition, the related income tax asset valuation allowance was not reconciled to the
underlying supporting detail. This control deficiency resulted in an audit adjustment
to the fourth quarter 2004 consolidated financial statements For the quarter ended
March 31, 2005, the Company identified an additional adjustment of a write-off of
income tax receivable related to 2004, which resulted in the restatement of the 2004
financial statements described in Note 2b. Additionally, this control deficiency
could result in a misstatement of income taxes payable, deferred income tax assets
and liabilities and the related income tax provision that could result in a material
misstatement to the annual or interim financial statements that would not be
prevented or detected. Accordingly, management determined that this control
deficiency constitutes a material weakness

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/s/ PricewaterhouseCoopers LLP
Dallas, Texas

March 15, 2005 with respect to our opinion relating to the consolidated
financial statements and financial statement schedules, except for Note 2b to the
consolidated financial statements related to accounting for income taxes, as to which
the date is May 16, 2005, and April 8, 2005 with respect to our opinions relating to
internal control over financial reporting, except for the penultimate paragraph of
Management’s Report on Intemal Control Over Financial Reporting, as to which the
date is May 16, 2005.

16. The preferred stock reorganization was never undertaken after the credit agreement
was renegotiated and instead defendants agreed to the terms of the Proposed Acquisition which
unfairly prefers the interests of the preferred shareholders to those of the minority common stock
holders

17. Several other potential buyers approached expressed interest in purchasing
Wyndham, including Goldman, Sachs & Co.’s Whitehall Street Real Estate Funds, represented by
Joseph Frumkin and Anthony Colletta of Sullivan & Cromwell LLP; Marriott Intemational Inc.; and
a consortium of Starwood Hotels & Resorts Worldwide Inc. and Morgan Stanley.

18. Defendants have also breached their fiduciary duties by failing to provide material
disclosures to Wyndham’s public shareholders prior to the announcement of the Proposed

Acquisition, thus putting an artificial cap on the Company’s common stock and preventing the full
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value of Wyndham’s common stock from being realized. Specifically, defendants have refused to
disclose the full extent of their negotiations With alternate potential acquirers, whether alternative
offers were formally proposed, what the terms of alternative offers were and whether the terms of
alternative offers would have provided more value to Wyndham’s non-affiliated shareholders
Defendants have also concealed any additional effects the restatement and investigation concerning
its inadequate internal controls revealed. Finally, defendants have concealed the favorable financial
results of Wyndham’s second quarter of 2005 which ended on May 31, 2005, a full two weeks prior
to the announcement of the Proposed Acquisition.

19. In pursuing the unlawful plan to cash out Wyndham’ s public stockholders for grossly
inadequate consideration, and pursuant to grossly inadequate quote terms, each of the defendants
violated applicable laws by directly breaching and/ or aiding the other defendants’ breaches of their
fiduciary duties of loyalty, due care, candor, independence, good faith and fair dealing. The
Wyndham Board is not disinterested and is riddled with conflict, including the fact that the Class B
preferred stockholders and specifically the Apollo investors, the Beacon investors and the THL
investors, control the Board of Directors through their voting stock. The preferred stock holders
have used their control to negotiate a sale of Wyndham that disposes of Wyndham at a price and
pursuant to terms which benefit preferred holders to the detriment of common stock holders

20. Defendants’ ongoing pattern of misconduct has caused, and continues to cause, severe
injury to Wyndham and its shareholders Only via this action can redress be obtained for Wyndham
and measures be implemented to avoid the ongoing injury to Wyndham and its operations

JURISDICTI()N AND VENUE

2l. This Court has subject matter jurisdiction under 28 U.S.C. §1332(a)(2), because
complete diversity exists between the plaintiff and each defendant, and the amount in controversy

exceeds $75,000. This action is not a collusive action designed to confer jurisdiction on this Court

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that it would not otherwise have. This Court has personal jurisdiction over defendants because they
either reside within this District and/or engaged in conduct that had a substantial impact within this
District.

22. Venue is proper under 28 U.S.C. §1391(a) because one or more defendants either
resides in or maintains executive offices in this District, many of the acts and transactions
complained of herein occurred in this District and defendants conduct business in this District.

THE PARTIES

23. Plaintiff Alaska U.F.C.W. Pension Trust is, and at times relevant to the allegations
raised herein was, the owner of shares of Wyndham common stock, Plaintiff is a citizen of Alaska.

24. Nominal party Wyndham International, Inc. is a Delaware corporation and has its
principal place of business located at 1950 Stemmons Freeway, Suite 6001, Dallas, Texas 75207.

25. Defendant F red J. Kleisner (“Kleisner”) is, and at all relevant times, was a Class A
Director of the Company. He is also the Chairman, President and Chief Executive Officer of the
Company. Kleisner has served as Chairman of the Board since October 13, 2000 and as Chief
Executive Officer since March 27, 2000. From July 1999 to October 2000, defendant Kleisner
served as President, and from July 1999 to March 2000, Kleisner also served as Chief Operating
Officer. ln 2004, Kleisner received $1.75 million in salary and bonus, including $500,000 of a
$2 million retention bonus Pursuant to his employment agreement, Wyndham has made several
loans to Kleisner. ln 1999, the Company loaned him $500,000. The Company loaned him an
additional $665,000 in 2001 . As of December 3 1 , 2004, $1,219,000 in principal and accrued interest
remained outstanding on these loans Kleisner is a citizen of Texas and can be served at 3510 Turtle
Creek Blvd., Apt. 17A, Dallas, Texas 75219.

26. Defendant Karim A. Alibhai (“Alibhai”) is a member of the Board of the Company.

Alibhai is, and at all relevant times, was a Class A Director of the Company. Alibhai previously

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served as Wyndham’s President and Chief Gperating Officer from 1997 until May of 1999.
Defendant Alibhai holds an ownership interest in three Wyndham hotels In 2004, Wyndham
provided over $1.3 million worth of hotel management, franchise and other services to these hotels
Additionally, Alibhai is a principal of the Gencom Group. On December 22, 2004, Wyndham sold
six Summerfield Suites hotels and a 33% interest in the Summerfield brand for $ 104 million to Sum
Business Holdings, LLC. Sum Business Holdings is indirectly owned by Gencom American
Hospitality, Inc., which is controlled by Alibhai and his family. Alibhai is a citizen of Texas and can
be served at 5910 Laguna Falls Court, Houston, Texas 77041.

27. Defendant Marc Beilinson (“Beilinson”) is a member of the Board of the Company .
Defendant Beilinson is, and at all relevant times, was a Class C Director of the Company. Beilinson
is a citizen of Califomia and can be served at 1871 Michael Lane, Pacific Palisades, Califomia.
90272.

28. Defendant Leon D. Black (“Black”) is a member of the Board of the Company.
Black is, and at all relevant times, was a Class B Director of the Company. He is also a Senior
Partner of Apollo Management, LP. Defendant Black is one of the founding principals of Apollo
Advisors, LP. Apollo and Wyndham have an ongoing relationship in that Apollo owns and operates
several Wyndham hotels that generated approximately $3 million in management, franchise and
service fees in 2004. Apollo holds the majority of Wyndham’s preferred stock, Black is a citizen of
New York and can be served at 760 Park Avenue, #3, New York, New York 10021.

29. Defendant Leonard Boxer (“Boxer”) is a member of the Board of the Company.
Defendant Boxer is, and at all relevant times, was a Class A Director of the Company. Boxer has
served as a partner and chairman of the real estate department of the law firm of Stroock & Stroock
& Lavan LLP. ln 2004, Wyndham retained Stroock & Stroock & Lavan to advise the Company on

numerous property transactions During 2004, Wyndham paid Stroock & Stroock & Lavan

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approximately $352,000 in fees and Strook & Strook & Lavan has a bona fide expectation of
receiving continuing business from the combined entity. Boxer is a citizen of New York and can be
served at 875 Park Avenue, #5D, New York, New York 10021.

30. Defendant Adela Cepeda (“Cepeda”) is a member of the Board of the Company.
Defendant Cepeda is, and at all relevant times, was a Class A Director of the Company. Cepeda is a
citizen of Illinois and can be served at 5016 South Greenwood Avenue, Chicago, Illinois 60615.

31. Defendant Milton Fine (“Fine”) is a member of the Board of the Company.
Defendant Fine is, and at all relevant times, was a Class A Director of the Company. Fine was the
co-founder of Interstate Hotels Company in 1961. He previously served as Chairman of Interstate
prior to its being acquired by Wyndham in 1998. Pursuant to a shareholders agreement dated
December 2, 1997 between defendant Fine and Wyndham’s predecessor in interest Patriot,
Wyndham must indemnify Fine for certain tax liabilities until December 2, 2007. During the first
quarter of 2005 , Wyndham paid $378,464 to certain entities related to Fine in consideration for Fine
releasing Wyndham from any continuing liability under a shareholders agreement. Additionally,
Fine holds an ownership interest in two Wyndham hotels ln 2004, Wyndham provided
approximately $844,188 in hotel management, franchise and other services to these hotels Fine is a
citizen of Pennsylvania and can be served at 145 Old Mill Road, Pittsburgh, Pennsylvania 1523 8.

32. Defendant Lee S. Hillman (“Hillman”) is a member of the Board of the Company.
Defendant Hillman is, and at all relevant times, was a Class C Director of the Company. Hillman is
a citizen of Illinois and can be served at 328 Shoreline Court, Glenco, Illinois 60022.

33. Defendant Thomas H. Lee (“Lee”) is a member of the Board of the Company.
Defendant Lee is, and at all relevant times, was a Class B Director of the Company. Lee founded
Thomas H. Lee Company in 1974 and since then has served as its President. ln 1999, the Company

changed its name to the Thomas H. Lee Partners. Since 1999 Lee has served as Chairman and CEO

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of Thomas H. Lee Partners and as President of Thomas H. Lee Capital. Lee is a citizen of
Massachusetts and can be served at Thomas H. Lee Company, 100 Federal Street, 35th Floor,
Boston, Massachusetts 021 10.

34. Defendant Alan M. Leventhal (“Leventhal”) is a member of the Board of the
Company. Defendant Leventhal is, and at all relevant times, was a Class B Director of the
Company. Leventhal is Chairman and Chief Executive Officer of Beacon Capital Partners, Inc.
Beacon presently holds Wyndham preferred stock, Leventhal is a citizen of Massachusetts and can
be served at 18 Pine Road, Chestnut Hill, Massachusetts 02467.

35. Defendant William L. Mack (“Mack”) is a member of the Board of the Company.
Defendant Mack is, and at all relevant times, was a Class B Director of the Company. He is also a
senior partner and one of the founding principals of Apollo Real Estate Advisors, LP. Mack is a
citizen of New York and can be served at Apollo Real Estate Advisors, Two Manhattenville Road,
2nd Floor, Purchase, NY 10577.

36. Defendant Lee S. Neibart (“Neibart”) is a member of the Board of the Company.
Defendant Neibart is, and at all relevant times, was a Class B Director of the Company. He is also a
senior partner and one of the founding principals of Apollo Real Estate Advisors, LP. Neibart is a
citizen of New York and can be served at 10 Beech Hill Lane, Pound Ridge, New York 10576.

37. Defendant Marc J. Rowan (“Rowan”) is a member of the Board of the Company.
Defendant Rowan is, and at all relevant times, was a Class B Director of the Company. Rowan is
also a senior partner and one of the founding principals of Apollo Advisors, LP. Rowan is a citizen
of New York and can be served at 1601 Deerfield Road, Water Mill, New York 11976.

38. Defendant Rolf E. Ruhfus (“Ruhfus”) is a member of the Board of the Company.
Defendant Ruhfus is, and at all relevant times, was a Class A Director of the Company. Ruhfus was

previously the Chief Executive Officer of Summerfield Hotel Corporation prior to its being acquired

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by Wyndham in 1998. Defendant Ruhfus holds an ownership interest in seven different
Summerfield Suites Hotels. ln 2004, Wyndham provided approximately $1.1 million in hotel
management, franchise and other services to these hotels Ruhfus is a citizen of Kansas and can be
served at 565 North Broadmoor, Wichita, Kansas 67226.

39. Defendant Lawrence Ruisi (“Ruisi”) is a member of the Board of the Company.
Defendant Ruisi is, and at all relevant times, was a Class C Director of the Company. Ruisi is a
citizen of New York and can be served at 121 Whippoorwill Road, Armonk, New York 10504.

40. Defendant Scott A. Schoen (“Schoen”) is a member of the Board of the Company.
Defendant Schoen is, and at all relevant times, was a Class B Director of the Company. Schoen has
been employed by Thomas H. Lee Partners since 1986 and currently serves as a managing director.
Schoen is a citizen of Massachusetts and can be served at 191 Kings Grant Road, Weston,
Massachusetts 02493.

41 . Defendant Scott M. Sperling (“Sperling”) is a member of the Board of the Company.
Defendant Sperling is, and at all relevant times, was a Class B Director of the Company. Sperling is
managing director of Thomas H. Lee Partners and trustee and general partner of various THL equity
funds Additionally, Sperling is a director of Beacon Capital Partners Sperling is a citizen of
Pennsylvania and can be served at 4 Moore Road, Sewickley, Pennsylvania 15143.

42. Defendant Lynn C. Swann (“Swann”) is a member of the Board of the Company.
Defendant Swann is, and at all relevant times, was a Class A Director of the Company. In
September 2003, Wyndham entered into a two year consulting agreement with Swann. Swann
provides Wyndham with consulting services related to the development and expansion of its
collegiate and professional sports marketing plans and sales initiatives He is required to make a
certain number of personal appearances a year on Wyndham’s behalf and to appear in a certain

amount of advertisements to promote Wyndham. The agreement entitles Swann to ongoing

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payments of $250,000 per year. Additionally, defendant Swann was granted 100,000 restricted
shares of Class A common stock upon execution of agreement The shares vest in two equal
installments in September 2004 and September 2005. Swann is a citizen of Pennsylvania and can be
served at Merriman Road, Sewickley, Pennsylvania 15143.

43. Defendant Sherwood M. Weiser (“Weiser”) is a member of the Board of the
Company. Defendant Weiser is, and at all relevant times, was a Class A Director of the Company.
Weiser holds an ownership interest in the Holiday Inn, Dayton Mall, in Dayton, Ohio. ln 2004,
Wyndham provided approximately $76,475 in hotel management, franchise and other services to this
hotel. Weisner is a citizen of Florida and can be served at 10 Edgewater Drive, Miami, Florida
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44. The defendants identified in 11125-43 are sometimes collectively referred to as the
“lndividual Defendants.”

DEFENDANTS’ FIDUCIARY DUTIES

45. Under Delaware law, in any situation where the directors of a publicly traded
corporation undertake a transaction that will result in either (i) a change in corporate control, or (ii) a
break up of the corporation’s assets, the directors have an affirmative fiduciary obligation to obtain
the highest value reasonably available for the corporation and its shareholders and if such
transaction will result in a change of corporate control, the corporation and its shareholders are
entitled to receive a significant premium. To diligently comply with these duties, the directors
and/or officers may not take any action that:

(a) adversely affects the value provided to the corporation or its shareholders;
(b) will discourage or inhibit alternative offers to purchase control of the
corporation or its assets;

(c) contractually prohibits themselves from complying with their fiduciary duties;

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(d) will otherwise adversely affect their duty to search and secure the best value
reasonably available under the circumstances for the corporation and its shareholders and/or

(e) will provide the directors and/or officers with preferential treatment at the
expense of, or separate from, the corporation and its public shareholders

46. ln accordance with their duties of loyalty and good faith, defendants as directors
and/or officers of Wyndham, were obligated under Delaware law to refrain from:

(a) participating in any transaction Where the directors’ or officers’ loyalties are
divided;

(b) participating in any transaction where the directors or officers receive, or are
entitled to receive, a personal financial benefit not equally shared by the corporation or its public
shareholders and/or

(c) benefiting themselves at the expense or to the detriment of the corporation and
its shareholders

47. Plaintiff alleges herein that defendants separately and to gether, in connection with
the Proposed Acquisition, have knowingly or recklessly violated their fiduciary duties including
their duties of loyalty, due care, good faith, fair dealing, independence, and candor owed to
Wyndham and its public shareholders Defendants have engaged in self-dealing, and have obtained
for themselves personal benefits including personal financial benefits not shared equally by
Wyndham or the Class or have aided and abetted others who did so. As a result of defendants’ self-
dealing and divided loyalties among other things the negotiation process for the Proposed
Acquisition was tainted and unfair and neither Wyndham nor the Class has received or will receive
an adequate or fair process or price for their Wyndham common stock in the Acquisition.

48. Defendants also owe the Company and its stockholders a duty of truthfulness under

Delaware law, which includes the disclosure of all material facts concerning the Acquisition.

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Defendants have knowingly or recklessly breached their fiduciary duties of candor and good faith by
failing to disclose all material information concerning the Acquisition, the true value of the
Company, and defendants conflicted or have aided and abetted others who did so.

49. Because defendants have knowingly or recklessly breached their duties of loyalty,
good faith, fair dealing, independence and candor in connection with the Proposed Acquisition or
aided and abetted others who did so, the burden of proving the inherent or entire fairness of the
Proposed Acquisition (including all aspects of its negotiation, structure, price and terms) is placed
upon defendants as a matter of law. Defendants cannot meet that burden.

CLASS ACTION ALLEGATIONS

50. Plaintiff brings this action both derivatively and as a class action pursuant to Rule 23
of the Federal Rules of Civil Procedure on behalf of all holders of Wyndham’s common stock who
are being and will be harmed by defendants’ actions described below (the “Class”). Excluded from
the Class are defendants herein and any person, firm, trust, corporation or other entity related to or
affiliated with any defendant

51. This action is properly maintainable as a class action.

52. The Class is so numerous that joinder of all members is impracticable According to
Wyndham’s SEC filings there were more than 172 million shares of Wyndham common stock
outstanding as of May 19, 2005 .

53. There are questions of law and fact which are common to the Class and which
predominate over questions affecting any individual Class member. The common questions include,
inter alia, the following:

(a) whether defendants have breached their fiduciary duties of undivided loyalty,
independence or due care with respect to plaintiff and the other members of the Class in connection

with the Acquisition;

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(b) whether the lndividual Defendants are engaging in self-dealing in connection
with the Acquisition and whether the lndividual Defendants are unjustly enriching themselves and
other insiders;

(c) whether defendants have breached any of their other fiduciary duties to
plaintiff and the other members of the Class in connection with the Proposed Acquisition, including
the duties of loyalty, due care, good faith, diligence, honesty, candor and fair dealing, and/or other
fiduciary duties;

(d) whether the defendants in bad faith and for improper motives have impeded
or erected barriers to discourage other offers for the Company or its assets; and

(e) whether Wyndham, plaintiff and the other members of the Class would suffer
irreparable injury were the transactions complained of herein consummated

54. Plaintiff’ s claims are typical of the claims of the other members of the Class and
plaintiff does not have any interests adverse to the Class

55. Plaintiff is an adequate representative of the Class, has retained competent counsel
experienced in litigation of this nature and Will fairly and adequately protect the interests of the
Class

56. The prosecution of separate actions by individual members of the Class would create
a risk of inconsistent or varying adjudications with respect to individual members of the Class which
would establish incompatible standards of conduct for the party opposing the Class

57. Plaintiff anticipates that there will be no difficulty in the management of this
litigation. A class action is superior to other available methods for the fair and efficient adjudication

of this controversy.

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58. Defendants have acted on grounds generally applicable to the Class with respect to
the matters complained of herein, thereby making appropriate the relief sought herein with respect to
the Class as a whole.

DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

59. Plaintiff also brings this action derivatively in the right and for the benefit of
Wyndham to redress injuries suffered and to be suffered by Wyndham as a direct result of the
breaches of fiduciary duty, violations of law and corporate waste, as well as the aiding and abetting
thereof`, by the defendants

60. Plaintiff will adequately and fairly represent the interests of Wyndham and its
shareholders in enforcing and prosecuting its rights

61 . Plaintiff is an owner of Wyndham stock and was an owner of Wyndham stock during
all times relevant to the defendants’ wrongful course of conduct as alleged herein.

62. As a result of the facts set forth throughout this Complaint, demand on the Wyndham
Board of Directors to institute this action against the officers of Wyndham and members of the
Wyndham Board of Directors is not necessary because such a demand would be a futile and useless
act.

(a) In order to bring this action for breaching their fiduciary duties the members
of the Wyndham Board would have been required to sue themselves and/or their fellow directors and
allies in the top ranks of the Company, who are their personal friends and with whom they have
entangling financial alliances, interests and dependencies, which they would not do.

(b) As alleged herein at 11]67-70, the Board of Directors is essentially controlled
by the Class B preferred shareholders through its own structure of the Board and the special voting
preferences granted to Class B stockholders Class B preferred shareholders can directly elect 1 1 of

the 19 directors The Apollo investors the Beacon investors and the THL investors collectively hold

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over 90% of the outstanding Class B shares Currently, eight of the directors are substantially
involved with one of these directors As alleged herein, at 111l67-70, the Class B preferred holders
maintain substantial control over the other Board members as well.

63. The defendants as more fully detailed herein, participated in, approved and/or
permitted the wrongs alleged herein to have occurred and participated in efforts to conceal or
disguise those wrongs from Wyndham’s shareholders or recklessly and/or negligently disregarded
the wrongs complained of herein, and are, therefore, not disinterested parties

64. Wyndham’s current and past officers and directors are protected against personal
liability for their acts of mismanagement, waste and breach of monies belonging to the stockholders
of Wyndham. However, due to language in the directors’ and officers’ liability insurance policies
covering the defendants in this case, certain provisions eliminate coverage for any action brought
directly by Wyndham against these defendants known as inter alia, the “insured versus insured
exclusion.” As a result, if these directors were to sue themselves or certain of the officers of
Wyndham, there would be no directors’ and officers’ insurance protection and thus this is a further
reason why they will not bring such a suit. On the other hand, if the suit is brought derivatively, as
this action is brought, such insurance coverage exists and will provide a basis for the Company to
effectuate a recovery.

65. Plaintiff has not made any demand on shareholders of Wyndham to institute this
action since such demand would be a futile and useless act for the following reasons:

(a) Wyndham is a publicly traded company with approximately 172 million
shares outstanding, and thousands of shareholders
(b) Making demand on such a number of shareholders would be impossible for

plaintiff who has no way of finding out the names addresses or phone numbers of shareholders and

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(c) Making demand on all shareholders would force plaintiff to incur huge
expenses assuming all shareholders could be individually identified

BACKGROUND ALLEGATIONS

66. Wyndham was and is a corporation existing under the laws of the State of Delaware,
with its principle place of business in Dallas Texas Wyndham offers upscale and luxury hotel and
resort accommodations through proprietary lodging brands and a management services division.
Based in Dallas Wyndham owns leases manages and franchises hotels and resorts in the United
States, Canada, Mexico, the Caribbean and Europe.

67. Wyndham has Class A common stock and Class B preferred stock. As of May 19,
2005, Wyndham had approximately 172.8 million shares of Class A common stock issued and
outstanding and approximately 15.8 million shares of Class B preferred stock issued and
outstanding

68. The Class B preferred stockholders control the Board of Directors through the
structure of the Board and the special voting preferences granted to Class B stock, Wyndham’s
Board of Directors consists of 19 members represented by three separate classes: Class A, Class B
and Class C. Class A directors consist of eight directors who are elected by the Class A common
stockholders Class B directors consist of eight directors who are elected by the Class B preferred
stockholders Class C directors consist of three directors who are elected by both the Class A
common stockholders and Class B preferred stockholders Each share of the Class A stock is
entitled to one vote per share while each share of the Class B stock is entitled to 11.6414 votes per
share. Accordingly, the voting preference gives the Class B stockholders a majority of the votes in
electing the three Class C directors Based upon December 31 , 2004 shares Class A stockholders
would have been entitled to cast 171 .4 votes for Class C directors while Class B stockholders would

have been entitled to cast 184.1 votes for Class C directors

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69. As of May 2004, the following entities owned 100% of the Class B preferred stock:
Apollo investors Beacon investors THL investors Chase Equity Associates, L.P., CMS lnvestors
CKE lnvestors PW Hotel I, LLC and PaineWebber Capital, lnc., Guayacan lnvestors Strategic Real
Estate lnvestors and The Bonnybrook Trust, the Franklin Trust and the Dartmouth Trust.
Additionally, this group of investors owned 50.2% of the outstanding shares of Class A common
stock, with an additional 9.3% of the common stock being owned by the individual directors and
officers of the Company. The Apollo investors the Beacon investors and the THL investors are the
maj or holders of the preferred stock, Collectively they hold 91 .4% of the outstanding Class B stock.

70. Not surprisingly all eight of the Class B directors are related to either the Apollo
investors the Beacon investors or the THL investors as either officers directors or partners and in
many instances are also founding principals of the entities Defendants Black, Rowan, Mack and
Neibart are substantially involved with the Apollo investors Defendant Leventhal is substantially
involved with the Beacon investors and defendants Lee, Schoen and Sperling are substantially
involved with the THL investors As a result of this structure and the other employment and
financial relationships detailed herein at111125-43, each director is beholden to the Class B preferred
shareholders

71 . Under the terms of the Proposed Acquisition, Wyndham’ s controlling stockholders _
entities affiliated with Apollo investors THL investors Beacon investors PaineWebber Capital Inc.,
Chase Capital Partners and Walt Disney Co. CEO Michael Ovitz - will receive $72.17 a share for
their convertible preferred, or approximately $1. 16 billion. The Proposed Acquisition will net them
a profit on the $l billion the controlling preferred shareholders invested in Wyndham in 1999, in
addition to the cash dividend payment of $29,250 per year each preferred stock share has been

granted since 1999.

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72. The Company’s common stock holders which receive no dividends will share
approximately $199 million.

7 3. As of April 20, 2005, the preferred shares owned by the controlling preferred holders
were convertible into 200.2 million Class A shares which would have been cashed out at just
$ l 76 million under the terms of the Proposed Acquisition.

74. ln April 2005, the Company announced a $1.65 billion refinancing, and two weeks
later announced it was undertaking a massive stock recapitalization which, if completed, would have
converted all preferred stock into common stock.

75. On April 15, 2005, the Company announced that it had entered into a definitive
recapitalization agreement with certain investors in Wyndham’s Series B Preferred Stock. ln the
recapitalization, the existing classification of Wyndham’s common stock would be eliminated, all
outstanding shares of Series A and Series B Preferred Stock (including accrued but unpaid
dividends) would be converted into common stock and the existing common stockholders would
continue to hold shares of common stock, At the closing of the transaction, the holders of the
Series A and Series B preferred stock would own approximately 85% of the outstanding common
stock of Wyndham and the existing common stockholders would own approximately 15% of the
outstanding common stock of Wyndham.

76. In May 2005 the Company completed the $ l .65 billion refinancing of its corporate
credit facilities and the majority of its outstanding mortgage debt, including extending its corporate
debt maturities to 2011 (90% of Wyndham’s outstanding debt) and pre-funding $100 million in
capital to be invested into the Company’s owned and leased properties This was undertaken to
assist the controlling preferred stock holders

77. Pursuant to the terms of their preferred stock issued in June 1999, preferred stock

dividends were payable quarterly, on a cumulative basis at a rate of 9.75% per year, for the first six

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years with the dividends structured to ensure an aggregate fixed cash dividend payment of
$29,250 per year. However, Wyndham’s credit facility prohibited it from paying the cash portion of
the preferred stock dividend until expiration or further amendment of its credit facility and the cash
portion of the dividend had not been paid but had accrued since 2002. As of December 31, 2004,
cash dividends totaling 3102.3 million on the preferred stock had been in arrears and unpaid for a
period of more than 60 days

78. The first six year term of the preferred stock agreement would expire in June 2005
and from that point forward the Board, in compliance with its fiduciary duties would have to
determine if the preferred stock should get cash or stock dividends Moreover, in June 2005 another
provision would expire requiring that if a change in control or a liquidation of Wyndham occurred,
any accrued dividends had to be immediately accelerated and paid Moreover, at the end of the six
year period in June 2005, the preferred stock was redeemable by Wyndham and the Board, in
compliance with its fiduciary duties would be forced to decide whether or not to redeem the
preferred stock, thus terminating the preferred dividend at a rate of 9.75% per year.

79. ln May 2005 it was reported that the Company had put itself up for sale. An article
appearing in BizNewOrleans.com dated May ll, 2005 entitled “WSJ : Wyndham Intemational
seeking a buyer,” stated in relevant part:

Wyndham Intemational Inc. has put itself up for sale, according to a report today by
The Wall Street Joumal.

Wyndham has 142 hotels and resorts in 10 countries in its franchise system,
including 33 it owns and leases The company operates four hotels in the greater
New Orleans area.

The hotel chain’s stock and debt are valued at about $3.7 billion. For the past
several years the company has been paying down debt by selling off its nonstrategic
hotels slashing administrative costs and refinancing its debt in order to slim itself
down to a “branded hotel operating company” focusing on the Wyndham branded
hotels the Joumal reported

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Wyndham, which reported earnings yesterday, had first-quarter revenue of
$282.6 million and a loss of 14 cents a share. The company said it expected to
complete its planned $1.65 billion debt refinancing this week, extending its
corporate-debt maturities to 2011.

A Wyndham spokeswoman told the Joumal: “We’re not commenting on
market rumors and speculation.”

The Dallas-based company owns leases manages and franchises the
Wyndham Hotels & Resorts Wyndham Luxury Resorts Summerfield Suites and
Viva Wyndham Resorts.

80. On May 17, 2005, Wyndham filed a Form 8-K with the Securities and Exchange
Commission (the “SEC”) advising that its previously issued financial statements for fiscal 2004

could “no longer be relied upon”:

ITEM 4.02A NON-RELIANCE ON PREVIOUSLY ISSUED FINANCIAL
STATEMENTS OR A RELATED AUDIT REPORT OR COMPLETED
INTERIM REVIEW

During the quarter ended March 31, 2005, as Wyndham International, Inc.

(the “Company” or “Wyndham”) was continuing to remediate internal controls over
financial reporting previously disclosed in its December 31, 2004 Annual Report on
Form 10-K, the Company identified an additional tax charge of $1 .7 million related
to 2004 and reconsidered other previously identified but deemed immaterial

adjustments related primarily to accruals of unbilled legal and consulting fees
aggregating $1.8 million related to 2004. The Company’s Audit Committee and
management consider the charges to be immaterial to the Company’s financial

position and the results of operations for the year ended December 31, 2004.

However, even though the adjustments are only 0.14% of the first quarter 2005
total assets, 0.15% of total liabilities 2. 5 % of shareholders’ equity and 1.2% of the
first quarter 2005 total revenues the $3.5 million adjustments as a percentage of
the first quarter 2005 loss from continuing operations of $48, 000 are significant

As a result, on May 11, 2005 it was determined that the financial statements for the
year ended December 31, 2004 should no longer be relied upon.

The restatement resulted in the Company adjusting its previously reported
2004 net loss of $509.5 million ($4.01 per share) to net loss of $5 1 2.9 million ($4.03
per share).
81 . On May 17, 2005, the Company also amended its previously filed Form 10-K for the
fiscal year ending December 31, 2004, indicating that the 10-K had not been updated based on the

review conducted and that only the limited changes had been made as outlined in the preceding

paragraph:
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This amended Annual Report on Form 10-K/A has not been updated except
as required to reflect the effects of the foregoing restatement ln order to preserve the
nature and character of the disclosures set forth in such items as originally filed, no
attempt has been made in this amendment to modify or update the disclosures in the
original Annual Report on Form 10-K except for the foregoing restatement As a
result, this amended Annual Report on Form 10-K/A contains forward-looking
information which has not been updated for events subsequent to the date of the
original filing, and all information contained in this amended Annual Report on
Form 10-K/A and the original Annual Report on Form 1 0-K is subject to updating
and supplementing as provided in the periodic reports that the Company has filed
and/or will file with the SEC after the original filing date of the Annual Report on
Form 10-K.

82. On May 24, 2005, the fiscal 2004 10-K was once again amended to add the report of
Wyndham’s independent accountants made in connection with the restatement

REPORT OF INDEPENDENT REGISTERED PUBLlC ACCOUNTING FIRl\/l

To the Board of Directors and Shareholders
Wyndham International, lnc.:

We have completed an integrated audit of Wyndham Intemational lnc. ’s 2004
consolidated financial statements and of its internal control over financial reporting
as of December 31, 2004 and audits of its 2003 and 2002 consolidated financial
statements in accordance with the standards of the Public Company Accounting
Oversight Board (United States). Our opinions based on our audits are presented
below.

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As described in Note 2b to the consolidated financial statements the
Company has restated its 2004 consolidated financial statements

Internal control over financial reporting

Also, we have audited management’s assessment, included in Management’s
Report on Intemal Control Over Financial Reporting appearing under Item 9A, that
Wyndham Intemational Inc. did not maintain effective internal control over
fnancial reporting as of December 31, 2004, because Wyndham International,
Inc. did not maintain effective controls over the accounting and review of income
taxes and the determination of deferred income taxes and the related valuation
allowance, based on criteria established in Intemal Control - lntegrated Framework
issued by the Committee of Sponsoring Organizations of the Treadway Commission
(COSO). The Company’s management is responsible for maintaining effective
internal control over financial reporting and for its assessment of the effectiveness of
internal control over financial reporting Our responsibility is to express opinions on
management’ s assessment and on the effectiveness of the Company’ s internal control
over financial reporting based on our audit

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A material weakness is a control deficiency, or combination of control
deficiencies that results in more than a remote likelihood that a material
misstatement of the annual or interim financial statements will not be prevented or
detected The following material weakness has been identified and included in
management’s assessment As of December 31, 2004, Wyndham International, lnc.
did not maintain effective controls over the accounting and review of income taxes
and the determination of deferred income taxes and the related valuation allowance.
Specifically, the Company did not maintain effective controls over the reconciliation
of its income tax assets and liabilities to the underlying differences between the tax
basis and accounting basis of each component of the Company’s balance sheet ln
addition, the related income tax asset valuation allowance was not reconciled to the
underlying supporting detail. This control deficiency resulted in an audit adjustment
to the fourth quarter 2004 consolidated financial statements For the quarter ended
March 31, 2005 , the Company identified an additional adjustment of a write-off of
income tax receivable related to 2004, which resulted in the restatement of the 2004
financial statements described in Note 2b. Additionally, this control deficiency
could result in a misstatement of income taxes payable, deferred income tax assets
and liabilities and the related income tax provision that could result in a material
misstatement to the annual or interim financial statements that would not be
prevented or detected. Accordingly, management determined that this control
deficiency constitutes a material weakness

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/s/ PricewaterhouseCoopers LLP
Dallas Texas

March 15, 2005 with respect to our opinion relating to the consolidated
financial statements and financial statement schedules except for Note 2b to the
consolidated financial statements related to accounting for income taxes as to which
the date is May 16, 2005, and April 8, 2005 with respect to our opinions relating to
internal control over financial reporting, except for the penultimate paragraph of
Management’s Report on Intemal Control Over Financial Reporting, as to Which the
date is May 16, 2005,

83. The preferred stock reorganization was never undertaken after the credit agreement
was renegotiated and instead defendants agreed to the terms of the Proposed Acquisition which
unfairly prefers the interests of the preferred shareholders to those of the minority common stock
holders

84. Several other potential buyers approached expressed interest in purchasing

Wyndham, including Goldman, Sachs & Co.’s Whitehall Street Real Estate Funds represented by

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Joseph Frumkin and Anthony Colletta of Sullivan & Cromwell LLP; Marriott Intemational Inc.; and

a consortium of Starwood Hotels & Resorts Worldwide Inc. and Morgan Stanley.

85.

DEFENDANTS ANNOUNCE THE PROPOSED ACQUISITION

On June 14, 2005, the Company issued a press release entitled, “Wyndham

International, lnc. Announces Agreement to Be Acquired by The Blackstone Group for $1.15 Per

Share or Approximately $3.24 Billion.” The press release stated in relevant part:

Wyndham International, Inc. announced today that it has entered into a definitive
Merger Agreement to be acquired by an affiliate of The Blackstone Group in a
transaction valued at $3.24 billion.

Under the terms of the Merger Agreement Blackstone will acquire all of the
outstanding Common Stock of Wyndham for $1.15 per share in cash. The board of
directors of Wyndham unanimously approved the Merger Agreement and
recommended approval by its shareholders

Fred J. Kleisner, Wyndham’s chairman, president and chief executive officer,
said, “Wyndham has followed a strategic approach to: simplify our corporate
structure, refinance our debt and sell all non-strategic assets We have created a
stream-lined organization centered around 32 high quality owned and leased hotels
and destination resorts plus the world’s pre-eminent spa, the Golden Door. All of
this has made Wyndham a much desired and sought after company in today’s real
estate market ln that regard, we are pleased to have signed a merger agreement with
Blackstone.”

Jonathan D. Gray, senior managing director of The Blackstone Group, said,
“We are excited to acquire Wyndham Intemational with its terrific collection of
employees properties and brands We look forward to working with Wyndham’s
franchisees owners and partners.”

The completion of the Merger Agreement is subject to various customary
closing conditions including the approval of Wyndham’s stockholders and the
expiration of the applicable waiting period under the Hart-Scott-Rodino Act
Completion of the Merger Agreement is not subject to the receipt of financing by
Blackstone. The closing of the Merger Agreement is expected to occur during the
fourth quarter of 2005,

Wyndham previously announced the entry into a definitive Recapitalization
Agreement with certain investors of Wyndham’s Series B Preferred Stock in which
all outstanding shares of Series A and Series B Preferred Stock would be converted
into common stock. Under the terms of the Merger Agreement the holders of shares
of Preferred Stock will receive $72.17 per share in cash, subject to potential
adjustment to reflect additional shares that may be issued as dividends after June 30,
2005.

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Bear, Stearns & Co. Inc. acted as financial advisor to Wyndham in
connection with the strategic review and this transaction J.P. Morgan Securities Inc.
provided a fairness opinion in connection with this transaction. Paul, Weiss, Rifkind,
Wharton & Gariison LLP acted as legal advisor to Wyndham. Simpson Thacher &
Bartlett LLP acted as legal advisor to Blackstone.

86. On June 14, 2004, the Apollo investors the Beacon investors and the THL investors
holders of over 90% of the Class B preferred stock, entered into a voting agreement with Blackstone
and Wyndham whereby they agreed to vote their shares in favor of the merger. Eight of the directors
are substantially involved with one of these entities

87. Defendants have breached their fiduciary duties by failing to provide material
disclosures to Wyndham’s public shareholders prior to the announcement of the Proposed
Acquisition, thus putting an artificial cap on the Company’s common stock and preventing the fiill
value of Wyndham’s common stock from being realized Specifically, defendants have refused to
disclose the full extent of their negotiations with alternate potential acquirers whether alternative
offers were formally proposed, what the terms of alternative offers were, and whether the terms of
alternative offers would have provided more value to Wyndham’s non-affiliated shareholders
Defendants have also concealed any additional effects the restatement and investigation concerning
its inadequate internal controls revealed Finally, defendants have concealed the favorable financial
results of Wyndham’s second quarter of 2005 which ended on May 31, 2005, a full two weeks prior
to the announcement of the Proposed Acquisition.

88. Bear Stearn & Co. (“Bear Steams”) was retained by the Wyndham Board to serve as
its financial advisor. However, Bears Steams’ own significant interest in seeing the transaction
close, regardless of the fairness of the terms and price to Wyndham and its non-affiliated
shareholders and its extensive long-term relationships with Blackstone, Wyndham’s executives and
the Apollo investors and other preferred holders prevented it from fulfilling its fiduciary duties to

Wyndham and its unaffiliated shareholders

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89. In 1999, Bear Stearns advised an investor group led by an entity affiliated with the
Apollo investors when it initially invested $1 billion in Wyndham. Bear Steams went on to advise
Wyndham, at the behest of the Company’s management and the preferred holder directors in
various divestitures of what bankers describe as “nonproprietary branded properties” usually about
20 hotels at a time. Bear Steams earned tens of millions of dollars in investment banking fees along
the way.

90. Bear Steams is also well acquainted with Blackstone, having worked on several of its
hotel company deals during 2004, Bear Steams advised Blackstone in its $1.23 billion acquisition of
Boca Resorts Inc. and its $3.1 billion purchase of Extended Stay America lnc. For the Extended
Stay deal, Bear Steams also provided financing Bear Steams advised the seller of Prime Hospitality
Corp. when Blackstone purchased it for $790 million.

91 . J .P. Morgan Securities provided the Wyndham Board with a fairness opinion in a deal
that too only paid if J.P. Morgan found the terms and price of the Proposed Acquisition were fair.
J.P. Morgan has close ties to Blackstone and the preferred investors group as well. J.P. Morgan just
advised on and co-underwrote Blackstone’s bid for Wind, the telecoms arm of ltalian utility Enel, in
April 2005. J.P. Morgan also served as a lead arranger in Blackstone’s November 2004 secondary
buyout (505 million EURO debt financed purchase) of Gerresheimer Glas. ln September 2004, it
Was announced that J.P. Morgan and Apollo had agreed to buy AMC Entertainment for $2 billion.
ln fact, Blackstone, J.P. Morgan and the Apollo investors are all three Second Secured Lenders to
German company PrimaCom AG and in January 2005 they obtained an injunction from a German
court permanently enjoining PrimaCom AG’s planned sale of its subsidiary, Multikabel, stating the
terms were unfair to them as creditors of PrimaCom AG. ln September 2003, Blackstone and
Apollo bought Ondeo Nalco Co., the U.S. water treatment arm of Franco-Belgian conglomerate Suez

SA, for $4.35 billion and J.P. Morgan served as Apollo’s advisor. When Wyndham sold 23 hotels to

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a private investment fund in March 2005 for $366 million, Bear Steams and J.P. Morgan advised
Wyndham.

92. Blackstone has only committed to a $550 million equity investment in Wyndham,
with Bear Steams along with Wachovia Bank, N.A., committing to provide the other $2.8 billion in
debt financing needed to complete the Proposed Acquisition.

93. J.P. Morgan and Bear Steams were joint book runners on the Company’s May 2005
$1.65 billion refinancing of its corporate credit facilities and the majority of its outstanding mortgage
debt, including extending its corporate debt maturities to 2011 (90% of Wyndham’s outstanding
debt) and pre-funding 3100 million in capital to be invested into the Company’s owned and leased
properties

94. Under the terms of their engagements to provide financial advising services to
Wyndham in connection with the Proposed Acquisition, the fees of J.P. Morgan and Bear Steams
would both be significantly limited if they concluded the terms of the Proposed Acquisition were not
fair to Wyndham and its public shareholders

SELF-DEALING

95. By reason of their positions with Wyndham, the lndividual Defendants are in
possession of non-public information concerning the financial condition and prospects of Wyndham,
and especially the true value and expected increased future value of Wyndham and its assets which
they have not disclosed to Wyndham’s public stockholders Moreover, the defendants have clear
and material conflicts of interest and are acting to better their own interests at the expense of
Wyndham’s public shareholders

96. The proposed sale is wrongful, unfair and harmful to Wyndham and Wyndham’s
public stockholders and represents an effort by defendants to aggrandize their own financial position

and interests at the expense of and to the detriment of Wyndham and the Class members The

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Acquisition is an attempt to deny Wyndham and the members of the Class their rights while
usurping the same for the benefit of the Individual Defendants on unfair terms

97. ln particular, defendants’ caused Wyndham to misstate its financial results operate
without internal controls expend millions of dollars on professional and legal fees structuring the
refinancing for the benefit of the preferred stock holders and have agreed to terms of the Proposed
Acquisition (and refused to negotiate in good faith with other potential acquirers) only to benefit the
preferred shareholders rather than redeeming and/or canceling the preferred stock,

98. ln light of the foregoing the lndividual Defendants must, as their fiduciary
obligations require:

0 Withdraw their consent to the sale of Wyndham and allow the shares to trade freely-
without impediments

0 Act independently so that the interests of Wyndham’ public stockholders will be
protected, including, but not limited to, the retention of truly independent advisors

and/or the appointment of a truly independent Special Committee.

0 Fully and fairly disclose all additional information to shareholders on the merger and
the true value of the Company.

0 Adequately ensure that no conflicts of interest exist between defendants’ own
interests and their fiduciary obligation to maximize stockholder value or, if such
conflicts exist, to ensure that all conflicts be resolved in the best interests of
Wyndham’ public stockholders

FIRST CAUSE OF ACTION
Claim for Breach of Fiduciary Duties
99. Plaintiff repeats and realleges each allegation set forth herein.
100. The defendants have violated the fiduciary duties of care, loyalty, good faith, candor

and independence owed under applicable law to Wyndham and its public shareholders and have

acted to put their personal interests ahead of the interests of Wyndham and its public shareholders

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101. By the acts transactions and courses of conduct alleged herein, defendants
individually and acting as a part of a common plan, are attempting to advance their interests at the
expense of Wyndham and the Class.

102. The Individual Defendants have violated their fiduciary duties by entering into a
transaction with Blackstone without regard to the fairness of the transaction to Wyndham and its
shareholders

103. The lndividual Defendants have also violated their fiduciary duties by failing to
provide Wyndham and its public shareholders with material disclosures concerning the Proposed
Acquisition.

104. As demonstrated by the allegations above, the Individual Defendants failed to
exercise the care required, and breached their duties of loyalty, good faith, candor and independence
owed to Wyndham and its shareholders because, among other reasons:

(a) they failed to properly value Wyndham;

(b) they ignored or did not protect against the numerous conflicts of interest
resulting from their own interrelationships or connection with the Proposed Acquisition; and

(c) they failed to provide Wyndham and its public shareholders with material
disclosures concerning the Proposed Acquisition.

105. Because the lndividual Defendants dominate and control the business and corporate
affairs of Wyndham, and are in possession of private corporate information concerning Wyndham’ s
assets business and future prospects there exists an imbalance and disparity of knowledge and
economic power between them, the Company and the public shareholders of Wyndham which
makes it inherently unfair for them to pursue any proposed transaction wherein they will reap

disproportionate benefits

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106. By reason of the foregoing acts practices and course of conduct, the defendants have
failed to exercise ordinary care and diligence in the exercise of their fiduciary obligations toward
Wyndham and the Class.

107 . As a result of the actions of defendants Wyndham and the Class will suffer
irreparable injury as a result of defendants’ self-dealing

108. Unless enjoined by this Court, the defendants will continue to breach their fiduciary
duties owed to Wyndham and the Class and may consummate the Proposed Acquisition which will
waste Wyndham’s corporate assets and exclude the Class from its fair share of Wyndham’s valuable
assets and businesses and/ or benefit defendants in the unfair manner complained of herein, all to the
irreparable harm of Wyndham and the Class as aforesaid

109. Defendants are engaging in self-dealing, are not acting in good faith toward
Wyndham and the Class and have breached and are breaching their fiduciary duties to Wyndham
and the Class.

1 10. Unless the Proposed Acquisition is enjoined by the Court, defendants will continue to
breach their fiduciary duties owed to Wyndham and the Class will not engage in arm’s-length
negotiations on the Proposed Acquisition terms and will not supply to Wyndham’s minority
stockholders sufficient information to enable them to cast informed votes on the Proposed
Acquisition and may consummate the Proposed Acquisition, all to the irreparable harm of Wyndham
and the Class

111. Wyndham, plaintiff and the members of the Class have no adequate remedy at law.
Only through the exercise of this Court’s equitable powers can Wyndham and the Class be fully

protected from the immediate and irreparable injury which defendants’ actions threaten to inflict

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SECOND CAUSE OF ACTION
Abuse of Control

112. Plaintiff repeats and realleges each allegation set forth herein.

1 13. The defendants’ conduct constituted an abuse of their ability to control and influence
Wyndham for which they are legally responsible.

114. As a proximate result thereof, Wyndham has been damaged and will continue to
suffer damages and has sustained and will continue to sustain substantial damage

THIRD CAUSE OF ACTION
Gross Mismanagement

115. Plaintiff repeats and realleges each allegation set forth herein.

1 16. As detailed more fully herein, the defendants each have and had a duty to Wyndham
and its shareholders to prudently supervise, manage and control Wyndham’s operations

117. The defendants by their actions either directly or through aiding and abetting,
abandoned and abdicated their responsibilities and duties with regard to prudently managing the
assets of Wyndham in a manner consistent with the operations of a publicly held corporation.

118. As a proximate result thereof, Wyndham has been damaged and will continue to
suffer damages and has sustained and will continue to sustain substantial damage.

FOURTH CAUSE OF ACTION
Waste of Corporate Assets

119. Plaintiff repeats and realleges each allegation set forth herein.

120. As a result of the foregoing conduct the defendants have caused Wyndham to waste
valuable assets

121. As a proximate result thereof, Wyndham has been damaged and will continue to

suffer damages and has sustained and will continue to sustain substantial damage.

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PRAYER FOR RELIEF

WHEREFORE, plaintiff, on behalf of itself and derivatively on behalf of Wyndham,
demands judgment and preliminary and permanent injunctive relief in the favor of Wyndham and in
favor of the Class and against defendants as follows:

A. Declaring that, as to the First Cause of Action, this action is properly maintainable as
a class action;

B. Declaring that this is a proper derivative action against all of the defendants and in
favor of the Company for the amount of damages sustained by the Company as a result of the
defendants’ breaches of fiduciary duties abuse of control, gross mismanagement and waste of
corporate assets

C. Declaring and decreeing that the Proposed Acquisition agreement was entered into in
breach of the fiduciary duties of the defendants and is therefore unlawful and unenforceable;

D. Enjoining defendants their agents counsel, employees and all persons acting in
concert with them from consummating the Proposed Acquisition, unless and until they adopt and
implement a procedure or process to obtain the highest possible price for Wyndham and its
shareholders

E. Directing the lndividual Defendants to exercise their fiduciary duties to obtain a
transaction which is in the best interests of Wyndham and its shareholders

F. Rescinding, to the extent already implemented, the Proposed Acquisition or any of
the terms thereof;

G. lmposition of a constructive trust, in favor of Wyndham, upon any benefits
improperly received by defendants as a result of their wrongful conduct;

H. Awarding Wyndham restitution from defendants and each of them;

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1. Awarding plaintiff the costs and disbursements of this action, including reasonable

attomeys’ and experts’ fees costs and expenses and

J. Granting such other and further equitable relief as this Court may deem just and

proper.

JURY DEMAND

Plaintiff demands a trial by jury.

DATED: June 29, 2005

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PROVOST & UMPHREY LAW FIRM, LLP
JOE KENDALL

State Bar No. 11260700

WILLIE C. BRISCOE

State Bar No. 24001788

trw-if

 

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Telephone: 619/231-1058

619/231-7423 (fax)

Attomeys for Plaintiff

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VERIFICATION

I, Randall J. Baron, declare as follows:

1. l am a member of the law firm of Lerach Coughlin Stoia Geller Rudman & Robbins
LLP, counsel for plaintiff in the above-entitled action. l have read the foregoing complaint and
know the contents thereof. l am informed and believe the matters therein are true and on that ground
allege that the matters stated therein are true.

2. I make this Verification because plaintiff is absent from the County of San Diego
where I maintain my office.

Executed this 27th day of June, 2005, at San Diego, Califomia.

W\`

RANDALL J. BARON

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CIVIL COVER SHEET

The JS 44 civil cover sheet and the information con i red her the filing and service of pleadin s or other pa ers as required by law, except as
provided by local rules of court This form, approved by J ci o en e 0 e itc es in September 1974, is require for the use o the Clerk of Court for the purpose
of initiating the civil docket sheet (SEE lNSTRUCTIONS T F H O .)

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I~ (a) PLAINTiFFs ME JMM Q)£QQS ij ,FENDANTS
Alaska U~F~C-W- Pensi°n Trust’ on B€F l fns dgl re d J. Kleisner, Karim A. Alibhai, Marc Meilinson, Leon D. Black,

Similarly Situated, Derivatively on Be]half nyndham Intemational Le nard Boxer, Adela Cepeda, Milton Fine, Lee S_ Hillman, et aj

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‘ L K, U.S. DlSTRlCT COURT .
(b) County ot` Residence of First Listed Plainti __NCD_§§H£M]_QMS Copnty of Residence of First Listed Defendant Dallas
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(C) Attomey`S (Firm Name,Address,andTelephone Number) Attomeys (Ifsw ‘, ii ': v l 3 2 3 _ B

Provost Umphrey Law Firm LLP, 3232 McKinney Avenue, Suite 700,
Dallas Texas 75204 Telephone: 214-744-3000

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) III. Cl IZENSHIP OF PRINCIPAL PARTIES(Place an “X" m One Box for Plaintiff
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IV. NATURE OF SUIT (Place an “X in One Box Only)

       

 

 
     

 
  
   

    

  
    
  

   
 

    

 

         

 

 

 

 

 

 

 

 

 

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ij 130 Miller Act g 315 Airplane Product Med. Malpractice [] 625 Drug Related Seizure 28 USC 157 g 430 Bariks and Banking
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g 150 Recovery of Overpayment |:I 320 Assault, Libel & Product Liability \°_'] 630 Liquor Laws m§*" ‘;"3: [:I 460 Deponation
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g 190 Other Contract Product Liability [:l 385 Property Damage |:I 720 Labor/Mgmt Relations ij 863 DlWC/DIWW (405(g)) 12 USC 3410
g 195 Contract Product Liability g 360 Other Personal Product Liability [:l 730 Labor/Mgmt.Reporting [:l 864 SSID Title XVI ij 890 Other Statutory Actions
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VII. REQUESTED IN g CHECK lF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint
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